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EXHIBIT C

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75
8254 (5/92) Subpeena for Rule 2004 Examination

United States Bankruptcy Court

DISTRICT OF NEVADA

INRE SUBPOENA FOR RULE 2004 EXAMINATION
USA COMMERCIAL MORTGAGE COMPANY, CASENOS. BK-~S-06-10725 LBR
USA CAPITAL REALTY ADVISORS, LLC, BK-S-06-10726 LBR
USA CAPITAL DIVERSIFIED TRUST DEED FUND LLC, BK-S-06-10727 LER
USA CAPITAL FIRST TRUST DEED FUND LLC, BK-S-06-10728 LBR
USA SECURITIES, LLC, BK-S-06-10729 LBR

DEBTORS, SOINTLY ADMINISTERED UNDER

CASE No. BK-S-06-10725-LBR
AFFECTS: ALL DEBTORS

TO: Brett Seabert
c/o Kaaren Thomas
McDonald Carano Wilson LLP
100 West Liberty Street, 10" Floor
Reno, NV 89505

x YOU ARE COMMANDED to produce a corporate representative for examination under Federal Rule of Bankruptcy Procedure 2004, oursuant
to the attached court order, regarding the following topics at the place, date and time specified below:

SEE ATTACHED EXHIBIT A FOR TOPICS OF EXAMINATION

PLACE OF TESTIMONY DATE AND TIME

ESQUIRE DEPOSITION SERVICES 25.2007 at 10:00 AM

| FAST LIBERTY STREET, 6" FLOOR May 2.20078

RENO, NEVADA 89504 (or such other mutually agreeable
date and/or time)

x YOU ARE COMMANDED to produce and permit inspection and copying of the following documents or objects at the place, date, and time
specified below:

SEE ATTACHED EXHIBIT B FOR DOCUMENTS REQUESTED

PLACE DATE
ESQUIRE DEPOSITION SERVICES May 18, 2007 at 10:00 A.M.

1 EAST LIBERTY STREET, 6° FLOOR (or such other mutually agreeable
RENO, NEVADO 89504 date and/or time)

ISSUING OFFICER SIGNATURE AND TITLE DATE
“iL
5 - May 4, 2007

{Spedial Litigation Counsel for the USACM Liquidating Trust
ISSUING OFFICER'S NAME, ADDRESS AND PIIONE NUMBER

ERIC D. MADDEN

DIAMOND MCCARTHY LLP
1201 ELM STREET, 34TH FLOOR
DALLAS, TEXAS 75270

(214) 389-5306

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PROOF OF SERVICE
DATE: PLACE:
SERVED:
“SERVED ON (PRINT NAME) MANNER OF SERVICE
DECLARATION OF SERVER

I declare under penalty of perjury under the laws of the United States of America that the foregoing information

contained in the Proof of Service is true and correct.

Executed on

Date

Signature of Server

Address of Server

Rule 45, Federal Rules of Civil Procedure, Parts (c) & (d} made applicable in cases under the Bankruptey Code by Rule 9016, Fed R Bankr P.:

{c) PROTECTION OF PERSONS SUBJECT 10 SUBPOENAS.

or an attomey responsible for the issuance and service of

1} Apa
a subpoens df take reasonable steps to avoid imposing undue burden or
expense oh a person subject to that subpoena. ‘The court on behaif of which the
subpoena was issued shall enforce this duty and impose upon the party or
attomey in breach of this duty an appropriate sanction, which may include, but
is not limited to, lost earnings and reasonable attorney's fee.

. GAA person commanded to produce and permit inspection and
copying of designated books, papers, documents or tangible things, or
inspection of premises need not appear in person, at the place of production or
inspection untess commanded to appear for deposition, hearing or trial,

(B} Subject to paragraph (d)(2} of this rule, a person commanded to,

roduce and permit inspection and copying may, within 14 days after service of
fre subpgens of before, the time specified for compliance if euch time is less
than 14 days after service, serve upon the party or attomey designated in the
subpoena Written objection to inspection or copying of any 6r ail of the
designated materials or of the ‘promises. if objection is made, the party serving
the subpoena shall not be entitled to inspect and copy the materials or inspect
the premises except pursuant to an order by the court by which the subpoena
was issued. H objection has been made, the party serving the subpoena may,
upon notice to the person commanded to produce, move at any time for an
order to compel the production, Such an order to compel production shall
protect any persons who is not a party or an officer of a party from significant
expense résulting from the inspection‘and copying commanded

(3A) Qn timely motion, the court by which 2 subpoena was issued
shall quash or modify the subpoena if it

i} fails to allow reasonable time for compliance.

il} requires a person who is not a party or an officer of a
party to travel toa place more than 100 miles from the place where
hat person resides, is employed or regularly transacts business. in
person, except that, subject to the provisions of clause ()(3)(B1G i}
of this mile, such a person may in order to attend tal be commande:
fo jHavel from any such place within the state in which the tial is

eld or,

{00365037;}

(iit) requires disclosure of privileged or other protected
Tratter and no exception or waiver applies, or
__ (iv) subjects a person to undue burden.
(B) Ifa subpoena

@ roquires disclosure of a trade secret or other
confidential research, development, or commercial information, or
. _ Gi) requires disclosure of an unretained expert's opinion or
information not describing Specific events or occurrences in dispute
and resulting from the expert's study made not at the request of any

arty, OF ., . .
P _ (iit) requires a person who is not a party or an officer of a
party to incur substantial expense to travel more than 100 miles to
attend trial, the court may, to protect a person subject_to or affected
by the subpoena, quash or modi e subpoena or, if the in
whose behalf the subpoena is issuéd shows a substantial need for the

that cannot be otherwise met without undue

tesimony or materia i
n io whom the sebpoene is

hardship’ and assures that the
addressed will be reasonably compensated, the court may order ap-
pearance or production only upon specrfied conditions.

(d) DUTIES IN RESPONDING IG SUBPOENA.

(l} A person responding to a subpoena to produce documents shail
produce them as they are kept in te usual course of business or shalt organize
and label them to correspond with the categories in the demand.

. @) When information subject to a subpoena is withheld on a claim
that is pain eged or subject to profection as trial preparation materials, the
claim shall be made expressly and shall be supported by 2 description of the
nature of the documents, communications, or things hot produced that is
sufficient to enable the demanding party to contest the claim.

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EXHIBIT A

The topics of examination under Federal Rule of Bankruptcy Procedure 2004 shall
include the following:

(1)

(2)

(3)

(4)

(5)

(6)

(7)

(8)

(9)
(10)

(il)

All communications, transactions, and other dealings between any of the
Debtors (as defined in EXHIBIT B) and any of the following:

a. Kreg D. Rowe

b. Brett Seabert

C. Any of the Entities (as defined in EXHIBIT B)

d. Any of the Individuals (as defined in EXHIBIT B)

All communications, transactions, and other dealings between Brett Seabert
and any of the following:

Thomas Hantges

Joseph Milanowski

Victoria Loob

USA Investment Partners, LLC

Any of the Entities (as defined in EXHIBIT B)

Any of the Individuals (as defined m EXHIBIT B)

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Your policies, if any, regarding document destruction and retention, and
how those policies were applied to the documents requested in EXHIBIT B
(the ““documents”);

How and where the documents are kept and filed;

Whether the documents are kept in the ordinary and usual course of your
business;

How the documents came to be created, including the identities
(specifically or by category) of the persons creating them;

Whether the persons creating the documents had personal knowledge of the
matters stated in the documents, or created from them information
transmitted by someone with such knowledge;

Whether it was the regular practice of Deponent to create the documents (or
keep a file of the documents, if created by others);

The efforts Deponent made to locate and produce the documents;

The identities of all persons assisting with the search for responsive
documents;

Whether any responsive documents were withheld on any ground;

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(12) Whether any responsive documents have been destroyed, and if'so, when
and for what reason or pursuant to what policy or instruction;

(13) Whether any documents that should have been found were missing, and if
so, the reasons that the documents were missing; and

(14) Whether any of the instructions provided in EXHIBIT B were not followed,
and if so, which instructions were not followed and the reasons for any and
all departures from the instructions.

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EXHIBIT B

1. DEFINITIONS

As used herein, unless otherwise indicated:

1, “Communication” means any transmittal of information, of any kind,
without regard to whether such information was transmitted orally, im writing,
electronically, visually, or by any other means.

2. “Debtors” shall mean USA Commercial Mortgage Company, USA Capital
Realty Advisors, LLC, USA Capital Diversified Trust Deed Fund, LLC, USA Capital
First Trust Deed Fund, LLC, USA Securities, LLC, and their predecessors and
successors, past and present subsidiaries, affiliates, divisions, branches, agents, officers,
directors, employees, attorneys, agents, brokers, representatives, servants, and any and alli
other persons or entities acting or purporting to act directly or indirectly on behalf of or
under the control of any of the Debtors, including any attorneys, advisors, or consultants.

3, “Document” means all originals, drafts and modifications of originals, as
well as copies, duplicates, and counterparts of originals, of written, printed, typed,
graphic, recorded, and visually or orally reproduced material of any kind, whether or not
privileged, and includes, but is not limited to, correspondence, business records,
telephone records and notations, diaries, calendars, minutes, contracts, agreements,
orders, receipts, invoices, bills, pictures, drawings or sketches, blueprints, designs,
notebooks, advertising and commercial literature, promotional literature of any kind,
cables, telexes, telegrams, recordings, patents, lists, charts, pamphlets, appendices,

exhibits, summaries, outlines, logs, journals, agreements, work papers, statements,

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records of inventory, financial and/or accounting records, catalogues, trade journals, and
any other documented or recorded information. The term “document” also includes
every other manner by which information is recorded or transmitted, including but not
limited to, microfilms, punch cards, disks, tapes, computer programs, printouts, all
recordings made through data processing techniques, and instructions and directions for
use of the data processing equipment to obtain the information recorded by that method.
The term “document” refers to copies, duplicates, and/or counterparts only where (i) the
copy, duplicate, or counterpart is not exactly identical to the original or (i) your records
only contain a copy, duplicate, or counterpart of the original and not the original itself.

4, “Entity” or “Entities” shall mean the following entities, their predecessors
and successors, past and present subsidiaries, affiliates, divisions, branches, agents,
officers, directors, employees, attorneys, agents, brokers, representatives, servants, and
any and all other persons or entities acting or purporting to act directly or indirectly on
behalf of or under the control of any of the Entities, including any attorneys, advisors, or
consultants:

Abogo Marketing, LLC

A.L. LLC

Amblamo, LLC

Ashby USA, LLC

ASQ, Inc.

Aware TM 30850, LLC
Barone-Tanamera Condominiums, LLC
Barusa, LLC

B&L Investments, Inc.

Bellavista Partners Limited Partnership
Blue Vale, LLC

Brentwood 128, LLC

Cabemet Highlands, LLC

California Desert, LLC

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Campo Land Investment, LLC
Caughlin Club Management Partners, LLC
Caughlin Club Real Property Investors, LLC
CCRE Investors, LLC

Chardonnay Village Investors, LLC
Classic Residences, LLC

Clemency, LLC

Commercial Concepts, LLC
Comstock Village Investors, LLC
Conference Pros, LLC

Cormman Toltec 160, LLC

DDH Financial Corp.

Diamond Village Investors, LLC

Dirt Holdings, LLC

Double Diamond Homes, LLC
Double Diamond Management Company, LLC
Eagle Ranch, LLC

Eagle Ranch, LLC

Eagle Ranch Development, LLC
Eagle Ranch Residential, LLC
Electro Optical Systems Corp.

Emigh investments, LLC

Equus Management Group

Foothill Commerce Center, LLC
FWY 101 USA Investors, LLC
Hamilton & Montoure, LLC

The Hantges Children’s Educational Trust
Happy Valley, LLC

Haspinov, LLC

HBM Holdings, LLC

HBM Ince.

HMA Management, LLC

HMA Sales, LLC

Homewood Village Investors I, LLC
Housing Partners, LLC

Indian Wells California Partners, LLC
Institutional Equity Partners, LLC
Institutional Income Fund

Intelligent E-Mail, Inc.

JaDeM Investments, LLC

Joseph D. Milanowski 1998 Trust
Kburr Brokerage Company, LLC
Kegan, LLC

Kenya 98, LLC

La Hacienda Land Investors

Longley Town Centre, LLC

Longley Professional Campus, LLC

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Lucid Land Development, LLC

Lucius Blanchard Family Foundation

Market Consultants Limited Partnership

The Meadows Investors, LLC

Medical Billing Alliance, Inc.

Met Pariners, LLC

Miners Village Investors, LLC

M.M.P.LE., LLC

Mojave Advertising, LLC

Monticello Investors, LLC

Mountainview Campus Investors, LLC
M.P.D.D. Ranch, LLC

M.P. Tanamera, LLC

Nellis Crossing Management, LLC

Nevada Skin and Cancer, Lucius Blanchard, M.D. Chartered
Nevada Technology Networks, LLC

Opaque Land Development, LLC

Palmdale Associates, LLC

Palomino Partners, a Nevada Limited Partnership
Paul Steven Hamilton Family Limited Partnership
PBH Family, L.P.

PerUSA, LLC

Pecos Professional Park Limited Partnership
Pecos Professional Park Property Owners Association
PES, L.L.C.

Pioneer Village Investors, LLC

Placer County Land Investors, LLC

(formerly Placer County Land Speculators, LLC)
Random Developments, LLC

Robert V. Jones, Corp.

Preserve at Galleria, LLC

Ravenswood Apple Valley, LLC

Red Granite, LLC

Redundant Networks, Inc.

Reno Corporate Center, LLC

Reno Design Center, LLC

Reno South Meadows, LLC

Resort International Marketing Inc.

Resort Magic, LLC

Resort Management Solutions, LLC

Rowe Family Trust

Royal Center Associates, LLC

Royal Hotel Corporation

Royal Resort Enterprises, LLC

Royal Resort Operating Company, LLC

Royal Resort Vacation Owners Association, Inc.
Royal Vacation Suites, Inc.

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RTTC Communications, LLC

Sandhill Business Campus, LLC

Sandhill Properties, LLC

Shadow Glen 420, Inc.

Shadroc, LLC

Shoshone Cattle and Land Development Co.
Sierra Vista Investors, LLC

Signature/USA Partners Limited Partnership
Soda Flats Land Company, LLC

South Meadows Apartments, LLC

South Meadows Commercial Property, LLC
South Meadows Office Investors, LLC
South Meadows Residential Partners, LLC
Southern California Land Development, LLC
Sparks Galleria Investors, LLC

Sparks Galleria Investors, LLC

Sparks Galleria Investors II, LLC

Sugartree, LLC

TA Management, LLC

Tanamera Apartments, LLC

Tanamera Commercial Development, LLC
Tanamera Corporate Center, LLC
Tanamera Development, LLC

Tanamera Homes, LLC

Tanamera Holding Company, Inc.
Tanamera Management, LLC

Tanamera Residential, LLC

Tanamera Resort Condominiums, LLC
Tanamera Resort Partners, LLC

Tanamera Seniors Village, LLC

TCD Financial Corp

TCD Land Investments

Telephone Associates of Arizona Limited Liability Company
Telephone Associates of Nevada Limited Liability Company
Thunderbird Hotel Corporation

Tigger Too

TJA Marketing, LLC

Toblak, LLC

Trading Places International, Inc.
Trans-Aero Land & Development Company
Tree Moss Partners, LLC

Twelve Horses North America, Inc.

Twelve Horses North America, LLC

USA Capital Diversified Trust Deed Fund
USA Capital First Trust Deed Fund

USA Capital Fund I, LLC

USA Capital Fund 0, LLC

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USA Capital Fund JIT, LLC

USA Capital High Income Real Estate Lending Fund, LLC
USA Capital Institutional High Income Fund, LLC
USA Capital Mortgage, LLC

USA Capital Realty Advisors, LLC

USA Capital Secured Income Fund, LLC

USA Capital Specialty Finance, LLC

USA Commercial Mortgage Company

USA Commercial Real Estate Group

USA Development, Inc.

USA Development Fund Two Limited Partnership
USA Investment Partners, LLC

USA Investors I, LLC

USA Investors HT, LLC

USA Investors III, LLC

USA Investors IV, LLC

USA Investors V, LLC

USA Investors VI, LLC

USA Lottery Investors, LLC

USA Partners, Inc.

USA Reno Mini-Storage, LLC

USA Secured Income Fund, LLC

USA Securities, LLC

USA South Tech Partners, Ltd.

USA/RV3J Development Fund One Limited Partnership
Vaudio, LLC

Vegas Hot Spots, LLC

Vineyard Highlands, LLC

The Vineyard Investors, LLC

Vineyard Professional Campus, LLC

Waterford Partners, LLC

Willowbrook Residential, LLC

Wyndgate Partners If, LLC

Wyndgate Investors, LLC

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5. “Evidencing” means constituting, mentioning, describing, conceming,
referring to, relating to, supplementing, amending, superseding, replacing, modifying, or
pertaining to, in whole or in part, the subject matter of the particular requests.

6. “Seabert” means Brett Seabert, his employees, attorneys, agents, brokers,
representatives, servants, and any and all other persons or entities acting or purporting to

act directly or indirectly on behalf of or under the control of Seabert, including any

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attorneys, advisors, or consultants.
7. “Identify” or “identity” with respect to a natural person requires that the
following information be provided for each such person:
(a) the name of the person;
(b) the last known home address, business address and/or telephone
number of each person.
8, “Identify” or “identity” with respect to a person other than a natural person
(e.g., corporation, partnership, unincorporated joint venture, sole proprietorship,

subchapter S corporation) requires that the following information be provided for each

such person:
(a) the name of the person;
(b) the last known address and telephone number of that person's
headquarters or principal place of business.
9. “Identify” or “identity” with respect to a document means to state the date

and author of the document, the type of document (e.g., letter, memorandum, telegram,
chart), the addressee or intended recipient, a summary of its contents or other means of
identifying the document, and the present location and custodian of the document.
Altematively, in lieu of the foregoing identification, the document may be produced
along with an identification of the interrogatory to which it is responsive. If any such
document was, but is no longer, in Your possession, custody, o1 control, Your attorneys
or agents, state what disposition was made of it and the date of such disposition. With

respect to document identification, documents prepared subsequent to or prior fo the time

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period specified in these interrogatories but which relate or refer to such time or period
are to be included in your response.

10. “Identify” or “identity” with respect to a communication, written or oral
conversation, conference or meeting, means to identify all persons participating in or in
attendance at the communication, conversation, conference or meeting, and to identify all
documents recording, summarizing or otherwise arising from the communication,
conversation, conference or meeting in accordance with the definitions stated above. In
addition, “identify” or “identrty” with tespect to a communication, conversation,
conference or meeting means to state in detail its purpose, all subjects discussed, the
method(s) of communication.

11. “Individual” or “Individuals” shall mean the following individuals:

Allen Abolafia

Richard Ashby

David M. Berkowitz
Lucius Blanchard
Eugene Buckley

Phil Dickinson

Michael Efstratis

David A. Fogg

Cynthia (“Cindy”) Gatto
Paul Hamilton

Andrew Hantges
Thomas Hantges
Stephen R. Hefner

Rob Hilson

R..J. Jackson

Robert V. Jones

Kraig Knudsen

Victoria (Hessling) Loob
Joe Lopez

Robert MacFarlane

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Cynthia Milanowski
Joseph Milanowski
Anthony Monaco
Sue Monaco
Christianne Orear
Salvatore Reale
Thomas Rondeau
Kreg D. Rowe
Robert Russell
Jeanne Russo
Michael Scofield
Tracy Suttles
Robert “Bobby” Tomljenovich
Albert Whalen

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12, “Person” means an individual, firm, partnership, corporation, incorporated
or unincorporated association, and any other legal, commercial, corporate or natural
entity. “Person” means the plural as well as the singular.

13. “Relating or referring” and/or “relate or refer” means in whole or in part
constituting, containing, concerning, embodying, evaluating, reflecting, describing,
discussing, demonstrating, evidencing, supporting, analyzing, identifying, stating,
referring to or dealing with, or in any way pertaining to including without limitation
documents that relate to the preparation of another document, or documents that are
attached to or enclosed with another document.

14. “You” or “your” refers to Seabert, his agents, representatives, and all other
persons acting, understood to act, or purporting to act on his behalf or under his direction

or control.

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I. INSTRUCTIONS

1, The following document requests are to be responded to fully, by
furnishing all information in your possession, custody or control. Your having
possession, custody, or control of a document includes your having a right, superior to
other parties, to compel the production of such document from a third party, such as your
agent, employee, representative, or, unless privileged, attorney.

2, If any document requested herein has been lost, discarded, or destroyed, the
document so lost, discarded or destroyed should be identified as completely as possible,
including without limitation, the date the document was lost, discarded, or destroyed, the
manner in which the document was lost, discarded, or destroyed, the reason(s) the
document was lost, discarded, or destroyed, the person who authorized that the document
be destroyed or discarded, and the person who lost, discarded, or destroyed the document.

3. if you cannot produce a document because it no longer exists or is no
longer in your possession, custody, or control, please identify that document by: (a) its
title; (b) its nature (for example, a “letter” or “e-mail”); (c) the date it was created or sent;
(d) its author(s) and signator(y/ies); (e) any of its recipient{s); (f) the last place it was
known to have been located; (g) the circumstances under which it ceased to exist or
passed from your possession, custody, or control; and (h) the identity and last known
residence and business address of any person who had knowledge of its existence and
location.

4. Produce the original, as well as all non-identical duplicates or copies and/or

drafts, of all requested documents in your possession, in the possession of your agents,

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attorneys, accountants or employees, o1 which are otherwise within your custody, control,
or access, wherever located. A document with handwritten notes, editing marks, etc., is
not identical to one without such notes or marks and therefore must be produced if within
the scope of documents requested.

5. Produce each requested document in its entirety, including all attachments
and enclosures, even if only a portion of the document is responsive to the request.

6. If you withhold from production any document (or portion of any
document) that is otherwise responsive to a request on the basis of a claim of privilege,
work product, or other ground, you must provide sufficient information regarding the
withheld document to permit the Court and the parties to evaluate the propriety of your
objection. Specifically, you must identify: (a) the name and title of the author(s) of the
document; (b) the name and title of each person to whom the document was addressed;
(c) the name and title of each person to whom the document was distributed; (d) the name
and title of each person to whom the document was disclosed, in whole or in part; (e) the
type of document (e.g., “memorandum” or “report”); (f) the subject matter of the
document; (g) the purpose(s) of the document; (g) the date on the document and, if
different, the date on which the document was created and/or sent; (h) the number of
pages of the document; (i) the specific request herein to which the document is
responsive; (j) the nature of the privilege(s) asserted as to the document; and (kK) a
detailed, specific explanation as to why the document is privileged or otherwise immune

from discovery, including a presentation of all factual grounds and legal analyses.

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7. If any requested document cannot be produced in full, produce it to the
extent possible, indicating what is being withheld and the reason it is being withheld.

8. Please produce each specified document either (a) in the original file or
organizational system in which it is regularly maintained or organized or (b) designate
which documents are being produced in response to which of the numbered specifications
below. Produce the requested documents either in their original file folders or appended
to a copy of any writing on the file folders from which the documents are taken.

9, Identify each document produced by the paragraph number of this schedule
to which it is responsive, {f a document is produced in response to more than one
request, it is sufficient to identify only the fizst request to which the document is
responsive,

10. All electronically stored information must be produced in the same form or
forms in which it is ordinarily maintained. Specifically, all electronically stored
information must be produced in its native format, so that the metadata can be accessed.

11. Unless otherwise specified, the relevant time period for this request is from
January 1, 1997 through and including the present.

12, This request is a continuing one that calls for the supplemental or additional
production of documents if any defendant or its counsel obtains supplemental or
additional documents.

13. In responding to the requests below: (a) the disjunctive shall also be read to
include the conjunctive and vice versa; (b) “including” shall be read to mean “including

without limitation;” (c) the singular shalt also be read to include the plural and vice versa;

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(d) the present shall also be read as if the past tense and vice versa; (e) “any” shall be
read to include “all” and vice versa; and (f) “and” shall be read to include “or” and vice

versa.

TH. DOCUMENTS

YOU ARE REQUESTED to produce the documents set forth below:

l. Ail documents referring or relating to any communications between any of
the Debtors and Seabert.
2. All documents referring or relating to any communications between Seabert

and any of the following individuals:
a. Thomas Hantges
b. Joseph Milanowski
C. Victoria Loob
3. All documents referring or relating to any communications between any of
the Debtors and any of the Entities.
4. All documents referring or relating to any communications between any of

the Debtors and any of the Individuals.

5. All documents referring or relating to any communications between Seabert
and any of the Entities.
6. All documents referring or relating to any communications related to any of

the Debtors between Seabert and any of the Entities.

7, All documents referring or relating to any communications between Seabert

and any of the Individuals.

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8. All documents referring or relating to any communications related to any of
the Debtors between Seabert and any of the Individuais.
9. All documents referring or relating to any communications related to any of
the Debtors between Seabert and any of the following persons:
a Thomas Hantges
b. Joseph Milanowski
C, Victoria Loob
d, USA Investment Partners, LLC
10. All documents referring or relating to any transactions involving any of the
Debtors.
11. All documents referring or relating to any transactions entered into by any
of the Debtors.
12. All documents referring or relating to any transactions entered into by any
of the Entities.
13. All documents referring or relating to any transactions entered into by any
of the Individuals.
14. All documents referring or relating to any transactions or other dealings
between any of the Debtors and Seabert.
15. All documents ieferring or relating to any transactions or other dealings
between any of the Debtors and any of the Entities
16. Alt documents referzing or relating to any transactions or other dealings

between any of the Debtors and any of the Individuals.

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17. All documents referring or relating to any transactions or other dealings
between Seabert and any of the Entities.
18. AW documents referring or relating to any transactions or other dealings
between Seabert and any of the Individuals.
19. All documents referring or relating to any transactions or other dealings
between Seabert and any of the following persons:
a. Thomas Hantges
b. Joseph Milanowski
C. Victoria Loob
d. USA Investment Partners, LLC
20.  Ajl documents referring or relating to financial statements, audit work
papers, appraisals, valuation reports, or any other assessment of the financial condition of
any of the following persons:
a. Any of the Debtors
b. USA Investment Partners, LLC
C. Tanamera Development, LLC
d, Toblak, LLC
21. All documents referring or relating to any payments or other transfers by
any of the Debtors to Seabert.
22, All documents referring or relating to any payments or other transfers by

any of the Debtors to any of the Entities,

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23. All documents referring or relating to any payments or other transfers by

any of the Debtors to any of the Individuals.

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EXHIBIT D

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PROOF OF SERVICE
DATE: PLACE:
SERVED:
SERVED ON (PRINT NAME) MANNER OF SERVICE
DECLARATION OF SERVER

I declare under penalty of perjury under the laws of the United States of America that the foregoing information

contained in the Proof of Service is true and correct.

Executed on

Date

Signature of Server

Address of Server

Rule 45, Federal Rules of Civil Procedure, Parts (c) & (d) made applicable in cases under the Bankruptcy Code by Rute 9016, Fed R Bankr P.:

(ec) PROTECTION OF PERSONS SUBJECT TO SUBPOENAS.

arty or aft attomey responsible for the issuance and service of

1) A
a gubpoens shall take reasonable ‘steps to avoid imposing undue burden or
expense on a person subject to that subpoena, The court on behalf of which the
subpoena was issued shall enforce this duty and impose upon the party or
attomey in breach of this duty an appropriate sanction, which may include, but
is not limited to, lost earnings and reasonable attorney's fee

. GyXA) A person commanded to produce and permit inspection and
copying of designated books, papers, documents, or tangible things, or
inspection of premises need not appear in person. at the place of produc on or
inspection unless commanded to appear for deposition, hearing or al

({B} Subject to paragraph (d)}(2) of this nile, 2 person commianded to.

roduce and permit inspection and copying may, within 14 days after service of

é subpoena or before the time specy for compliance if such time is less
than 14 days after service, serve upon the party or attomey designated in the
subpoena written objection to inspection or copying of any or all of the
designated materials or of the premises. If objection is made, the party serving
the subpoena shall not be entitled to inspect and copy the matenals or inspect
ursuant to an order by the court by which the subpoena
was issued. If objection has been made, the serving the subpoena may,
upon notice to the person commanded to produce, move at any time for an
order to compel the production, Such an order to compel production shall
protect any persons who is not a party or an officer of a party from significant
expense résulting from the inspection ‘and copying comunandeéd.

the premises except

(3}(A) On timely motion, the court by which a subpoena was issued
shail quash or modity the subpoena sf it

i) fails to allow reasonable, time for compliance,
li)_ requires a person who is not a party or an officer of a
arty to travel to a place more than 100 miles from the place where
hat person resides, is employed or regularly transacts business, in
person, except that, subject to the provisions of clause (G)B IG}
of this male, such a person may in order to attend tial be commande,
to travel from any such place within the state in which the tal is

held or,

{00365037;}

(it) requires disclosure of privileged or other protected
matter and no exception or waiver applies, or

iv) subjects a person to undue burden
(B) Ifa subpoena

G) requires disclosure of a trade secret or other
confidential research, development, or commercial information, or
. _ Gi) requires disclosure of an unretained expert's opinion or
information not describing Specific events or occurrences in digpute
and resulting from the expert's study made not at the request of any

party, Or. : .

_ (iii) requires a person who is nota party or an officer of a
party to incur substantial expense to travel more than 100 miles to
attend tial, the court may, to protect a person subject, to or fected
by the subpoena, quash or modify the subpoena or, if the party in
whose behalf the subpoena is issued shows a substantial need for the
testimony or material that cannot be otherwise met without undue
hardship and assures that the person to whom the subpoena is
addressed will be reasonably compensated, the court may order ap-
pearance or production only upon specified conditions

(d} DUTIES IN RESPONDING TO SUBPOENA.

{f) A person responding to a subpoena to produce documents shall
produce them as they are kept in the usual course of business or shall organize
and label them to cofrespond with the categories in the demand.

. @) When information subject to a subpoens is withheld on,a claim
that is pay eged or subject to profection as tnal preparation materials, the
claim shall be made expressly and shall be supported by a description of the
nature of the documents, communications, or things not produced
sufficient to cnable the demanding party to contest the claim

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EXHIBIT A

The topics of examination under Federal Rule of Bankruptcy Procedure 2004 shall
include the following:

(1)

(2)

(3)

(4)

(5)

(6)

(7)

(8)

(%)
(10)

(11)

All communications, transactions, and other dealings between any of the
Debtors (as defined in EXHIBIT 8) and any of the following:

a. Kreg D, Rowe

b. Brett Seabert

C. Any of the Entities (as defined in EXHIBIT B)

d. Any of the Individuals (as defined in EXHIBIT B)

All communications, transactions, and other dealings between Kreg D,
Rowe and any of the following:

Thomas Hantges

Joseph Milanowski

Victoria Loob

USA Investment Partners, LLC

Any of the Entities (as defined in EXHIBIT B)

Any of the Individuals (as defined in EXHIBIT B)

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Your policies, if any, regarding document destruction and retention, and
how those policies were applied to the documents requested in EXHIBIT B
(the “documents”);

How and where the documents are kept and filed;

Whether the documents are kept in the ordinary and usual course of your
business;

How the documents came to be created, including the identities
(specifically or by category) of the persons creating them;

Whether the persons creating the documents had personal knowledge of the
matters stated in the documents, or created from them information
transmitted by someone with such knowledge;

Whether it was the regular practice of Deponent to create the documents (or
keep a file of the documents, if created by others);

The efforts Deponent made to locate and produce the documents;

The identities of al! persons assisting with the search for responsive
documents;

Whether any responsive documents were withheld on any ground;

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(12)

(13)

(14)

Whether any responsive documents have been destroyed, and if so, when
and for what reason or pursuant to what policy or instruction;

Whether any documents that should have been found were missing, and if
so, the reasons that the documents were missing; and

Whether any of the instructions provided in EXHIBIT B were not followed,
and if so, which instructions were not followed and the reasons for any and
all departures from the instructions.

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EXHIBIT B

I. DEFINITIONS

As used herein, unless otherwise indicated:

1. “Communication” means any transmittal of information, of any kind,
without regard to whether such information was transmitted orally, in writing,
electronically, visually, or by any other means.

2. “Debtors” shall mean USA Commercial Mortgage Company, USA Capital
Realty Advisors, LLC, USA Capital Diversified Trust Deed Fund, LLC, USA Capital
First Trust Deed Fund, LLC, USA Securities, LLC, and their predecessors and
successors, past and present subsidiaries, affiliates, divisions, branches, agents, officers,
directors, employees, attorneys, agents, brokers, representatives, servants, and any and all
other persons or entities acting or purporting to act directly ot indirectly on behalf of or
under the control of any of the Debtors, including any attorneys, advisors, or consultants.

3. “Document” means all originals, drafts and modifications of originals, as
well as copies, duplicates, and counterparts of originals, of written, printed, typed,
graphic, recorded, and visually or orally reproduced material of any kind, whether o1 not
privileged, and includes, but is not limited to, correspondence, business records,
telephone records and notations, diaries, calendars, minutes, contracts, agreements,
orders, receipts, invoices, bills, pictures, drawings or sketches, blueprints, designs,
notebooks, advertising and commercial literature, promotional literature of any kind,
cables, telexes, telegrams, recordings, patents, lists, charts, pamphlets, appendices,

exhibits, summaries, outlines, logs, journals, agreements, work papers, statements,

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records of inventory, financial and/or accounting records, catalogues, trade journals, and
any other documented or recorded information. The term “document” also includes
every other manner by which information is recorded or transmitted, including but not
limited to, microfilms, punch cards, disks, tapes, computer programs, printouts, all
recordings made through data processing techniques, and instructions and directions for
use of the data processing equipment to obtain the information recorded by that method.
The term “document” refers to copies, duplicates, and/or counterparts only where (i) the
copy, duplicate, or counterpart is not exactly identical to the original or (ii) your records
only contain a copy, duplicate, or counterpart of the original and not the original itself.

4. “Entity” or “Entities” shali mean the following entities, their predecessors
and successors, past and present subsidiaries, affiliates, divisions, branches, agents,
officers, directors, employees, attorneys, agents, brokers, representatives, servants, and
any and all other persons or entities acting or purporting to act directly or indirectly on
behalf of or under the control of any of the Entities, including any attorneys, advisors, or

consultants:

Abogo Marketing, LLC

A. L. LLC

Amblamo, LLC

Ashby USA, LLC

ASQ, Inc.

Aware TM 30850, LLC
Barone-Tanamera Condominiums, LLC
Barusa, LLC

B&L Investments, Inc.

Bellavista Partners Limited Partnership
Blue Vale, LLC

Brentwood 128, LLC

Cabernet Highlands, LLC

California Desert, LLC

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Campo Land Investment, LLC
Caughlin Club Management Partners, LLC
Caughlin Club Real Property Investors, LLC
CCRE Investors, LLC

Chardonnay Village Investors, LLC
Classic Residences, LLC

Clemency, LLC

Commercial Concepts, LLC
Comstock Village Investors, LLC
Conference Pros, LLC

Cornman Toltec 160, LLC

DDH Financial Corp.

Diamond Village Investors, LLC

Dirt Holdings, LLC

Double Diamond Homes, LLC
Double Diamond Management Company, LLC
Eagle Ranch, LLC

Eagle Ranch, LLC

Eagle Ranch Development, LLC
Eagle Ranch Residential, LLC

Electro Optical Systems Corp.

Emigh Investments, LLC

Equus Management Group

Foothill Commerce Center, LLC
FWY 101 USA Investors, LLC
Hamilton & Montoure, LLC

The Hantges Children’s Educational Trust
Happy Valley, LLC

Haspinov, LLC

HBM Holdings, LLC

HBM Inc.

HMA Management, LLC

HMA Sales, LLC

Homewood Village Investors J, LLC
Housing Partners, LLC

Indian Wells California Partners, LLC
Institutional Equity Partners, LLC
Institutional Income Fund

Intelligent E-Mail, Inc.

JaDeM Investments, LLC

Joseph D. Milanowski 1998 Trust
Kburr Brokerage Company, LLC
Kegan, LLC

Kenya 98, LLC

La Hacienda Land Investors

Longley Town Centre, LLC

Longley Professional Campus, LLC

3.

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Lucid Land Development, LLC

Lucius Blanchard Family Foundation

Market Consultants Limited Partnership

The Meadows Investors, LLC

Medical Billing Alliance, Inc.

Met Partners, LLC

Miners Village Investors, LLC

M.M.P.LE., LLC

Mojave Advertising, LLC

Monticello Investors, LLC

Mountainview Campus Investors, LLC

M.P D.D. Ranch, LLC

M.P. Tanamera, LLC

Nellis Crossing Management, LLC

Nevada Skin and Cancer, Lucius Blanchard, M.D. Chartered
Nevada Technology Networks, LLC

Opaque Land Development, LLC

Palmdale Associates, LLC

Palomino Partners, a Nevada Limited Partnership
Paul Steven Hamilton Family Limited Partnership
PBH Family, L.P.

PerUSA, LLC

Pecos Professional Park Limited Partnership
Pecos Professional Park Property Owners Association
PES, L.L.C.

Pioneer Village Investors, LLC

Placer County Land Investors, LLC

(formerly Placer County Land Speculators, LLC)
Random Developments, LLC

Robert V. Jones, Corp.

Preserve at Galleria, LLC

Ravenswood Apple Valley, LLC

Red Granite, LLC

Redundant Networks, Inc.

Reno Corporate Center, LLC

Reno Design Center, LLC

Reno South Meadows, LLC

Resort International Marketing Inc.

Resort Magic, LLC

Resort Management Solutions, LLC

Rowe Family Trust

Royal Center Associates, LLC

Royal Hotel Corporation

Royal Resort Enterprises, LLC

Royal Resort Operating Company, LLC

Royal Resort Vacation Owners Association, Inc.
Royal Vacation Suites, Inc.

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RTTC Communications, LLC
Sandhill Business Campus, LLC
Sandhill Properties, LLC
Shadow Glen 420, Inc.
Shadroc, LLC
Shoshone Cattle and Land Development Co.
Sierra Vista Investors, LLC
Signature/USA Partners Limited Partnership
Soda Flats Land Company, LLC
South Meadows Apartments, LLC
South Meadows Commercial Property, LLC
South Meadows Office Investors, LLC
South Meadows Residential Partners, LLC
Southern California Land Development, LLC
Sparks Galleria Investors, LLC
Sparks Galleria Investors, LLC
Sparks Galleria Investors II, LLC
Sugartree, LLC
TA Management, LLC
Tanamera Apartments, LLC
Tanamera Commercial Development, LLC
Tanamera Corporate Center, LLC
Tanamera Development, LLC
Tanamera Homes, LLC
Tanamera Holding Company, Inc.
Tanamera Management, LLC
Tanamera Residential, LLC
Tanamera Resort Condominiums, LLC
Fanamera Resort Partners, LLC
Tanamera Seniors Village, LLC
TCD Financial Corp.
TCD Land Investments
Telephone Associates of Arizona Limited Liability Company
Telephone Associates of Nevada Limited Liability Company
Thunderbird Hotel Corporation
Tigger Too
TJA Marketing, LLC
Toblak, LLC
Trading Places International, Inc.
Trans-Aero Land & Development Company
Tree Moss Partners, LLC
Twelve Horses North America, Inc.
Twelve Horses North America, LLC
USA Capital Diversified Trust Deed Fund
USA Capital First Trust Deed Fund
USA Capital Fund I, LLC

-USA Capital Fund [, LLC

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5.

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USA Capital Fund HI, LLC

USA Capital High Income Real Estate Lending Fund, LLC
USA Capital Institutional High Income Fund, LLC
USA Capital Mortgage, LLC

USA Capital Realty Advisors, LLC

USA Capital Secured Income Fund, LLC

USA Capital Specialty Finance, LLC

USA Commercial Mortgage Company

USA Commercial Real Estate Group

USA Development, Inc.

USA Development Fund Two Limited Partnership
USA Investment Partners, LLC

USA Investors I, LLC

USA Investors II, LLC

USA Investors Ti, LLC

USA Investors IV, LLC

USA Investors V, LLC

USA Investors VI, LLC

USA Lottery Investors, LLC

USA Partners, Inc.

USA Reno Mini-Storage, LLC

USA Secured Income Fund, LLC

USA Securities, LLC

USA South Tech Partners, Ltd.

USA/RVJ Development Fund One Limited Partnership
Vaudio, LLC

Vegas Hot Spots, LLC

Vineyard Highlands, LLC

The Vineyard Investors, LLC

Vineyard Professional Campus, LLC

Waterford Partners, LLC

Willowbrook Residential, LLC

Wyndgate Partners II, LLC

Wyndgate Investors, LLC

“Evidencing” means constituting, mentioning, describing, concerning,

referring to, relating to, supplementing, amending, superseding, replacing, modifying, or

pertaining to, in whole or in part, the subject matter of the particular requests.

6.

“Rowe” means Kreg D. Rowe, his employees, attorneys, agents, brokers,

representatives, servants, and any and all other persons or entities acting or purporting to

act directly or indirectly on behalf of or under the control of Rowe, including any

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attorneys, advisors, or consultants.
7. “Identify” or “identity” with respect to a natural person requires that the
following information be provided for each such person:
(a) the name of the person;
(o) the last known home address, business address and/or telephone
number of each person.
8. “Identify” or “identity” with respect to a person other than a natural person
(¢.g.. cotporation, partnership, unincorporated joint venture, sole proprietorship,

subchapter S corporation) requires that the following information be provided for each

such person:
(a) the name of the person;
(b) the last known address and telephone number of that person's
headquarters or principal place of business.
9, “Identify” or “identity” with respect to a document means to state the date

and author of the document, the type of document (e.g., letter, memorandum, telegram,
chart), the addressee or intended recipient, a summary of its contents or other means of
identifying the document, and the present location and custodian of the document.
Altermatively, in lieu of the foregoing identification, the document may be produced
along with an identification of the interrogatory to which it is responsive. If any such
document was, but is no longer, in Your possession, custody, or control, Your attorneys
or agents, state what disposition was made of it and the date of such disposition. With

respect to document identification, documents prepared subsequent to or prior to the time

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period specified in these interrogatories but which relate or refer to such time or period
are to be included in your response.

10. “Identify” or “identity” with respect to a communication, written or oral
conversation, conference or meeting, means to identify all persons participating in or in
attendance at the communication, conversation, conference or meeting, and to identify all
documents recording, summarizing or otherwise arising from the communication,
conversation, conference or meeting in accordance with the definitions stated above. In
addition, “identify” or “identity” with zespect to a communication, conversation,
conference or meeting means to state in detail its purpose, all subjects discussed, the
method(s} of communication.

I}. “Individual” or “Individuals” shall mean the following individuals:

Allen Abolafia

Richard Ashby

David M. Berkowitz
Lucius Blanchard
Eugene Buckley

Phil Dickinson.

Michael Efstratis

David A. Fogg

Cynthia CCindy”) Gatto
Paul Hamilton

Andrew Hantges
Thomas Hantges
Stephen R. Hefner

Rob Hilson

R.J. Jackson

Robert V. Jones

Kraig Knudsen

Victoria (Hessling) Loob
Joe Lopez

Robert MacFarlane

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Cynthia Milanowski
Joseph Milanowski
Anthony Monaco
Sue Monaco
Christianne Orear
Salvatore Reale
Thomas Rondeau
Robert Russell
Jeanne Russo
Michael Scofield
Brett Seabert

Tracy Suttles
Robert “Bobby” Tomljenovich
Albert Whalen

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12. “Person” means an individual, firm, partnership, corporation, incorporated
or unincorporated association, and any other legal, commercial, corporate or natural
entity. “Person” means the plural as well as the singular.

13. “Relating or referring” and/or “relate or refer” means in whole or in part
constituting, containing, concerning, embodying, evaluating, reflecting, describing,
discussing, demonstrating, evidencing, supporting, analyzing, identifying, stating,
referring to or dealing with, or in any way pertaining to including without limitation
documents that relate to the preparation of another document, or documents that are
attached to or enclosed with another document.

14. “You” or “your” refers to Rowe, his agents, representatives, and all other
persons acting, understood to act, or purporting to act on his bebalf or under his direction

or control.

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Il. INSTRUCTIONS

1. The following document requests are to be responded to fully, by
furnishing all information in your possession, custody or control. Your having
possession, custody, or control of a document includes your having a right, superior to
other parties, to compel the production of such document from a third party, such as your
agent, employee, representative, or, unless privileged, attorney.

2, If any document requested herein has been lost, discarded, or destroyed, the
document so lost, discarded or destroyed should be identified as completely as possible,
including without limitation, the date the document was lost, discarded, or destroyed, the
manner in which the document was lost, discarded, ot destroyed, the reason(s) the
document was lost, discarded, or destroyed, the person who authorized that the document
be destroyed or discarded, and the person who lost, discarded, or destroyed the document.

3. If you cannot produce a document because it no longer exists or is no
longer in your possession, custody, or control, please identify that document by: (a) its
title; (b) its nature (for example, a “letter” or “e.mail”); (c) the date it was created or sent;
(d) its author(s) and signator(y/ies); (e) any of its recipient(s); (f) the last place it was
known to have been located; (g) the circumstances under which it ceased to exist or
passed from your possession, custody, or control; and (h) the identity and last known
residence and business address of any person who had knowledge of its existence and
focation.

4. Produce the original, as well as all non-identical duplicates or copies and/or

drafts, of all requested documents in your possession, in the possession of your agents,

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attorneys, accountants or employees, or which are otherwise within your custody, control,
o1 access, wherever located. A document with handwritten notes, editing marks, etc., is
not identical to one without such notes or marks and therefore must be produced if within
the scope of documents requested.

5. Produce each requested document in its entirety, including all attachments
and enclosures, even if only a portion of the document is responsive to the request.

6. If you withhold from production any document (or portion of any
document) that is otherwise responsive to a request on the basis of a claim of privilege,
work product, or other ground, you must provide sufficient information regarding the
withheld document to permit the Court and the parties to evaluate the propriety of your
objection. Specifically, you must identify: (a) the name and title of the author(s) of the
document; (b) the name and title of each person to whom the document was addressed;
(c) the name and title of each person to whom the document was distributed; (d) the name
and title of each person to whom the document was disclosed, in whole or in part; (e) the
type of document (e.g., “memorandum” or “report”); (f) the subject matte: of the
document; (g) the purpose(s) of the document; (g) the date on the document and, if
different, the date on which the document was created and/or sent; {h) the number of
pages of the document; (i) the specific request herein to which the document is
responsive; (j) the nature of the privilege(s) asserted as to the document; and (k) a
detailed, specific explanation as to why the document is privileged or otherwise immune

from discovery, including a presentation of all factual grounds and legal analyses.

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7. If any requested document cannot be produced in full, produce it to the
extent possible, indicating what is being withheld and the reason it is being withheld.

8. Please produce each specified document either (a) in the original file or
organizational system in which it is regularly maintained or organized or (b) designate
which documents are being produced in response to which of the numbered specifications
below. Produce the requested documents either in their original file folders or appended
to a copy of any writing on the file folders from which the documents are taken.

9, Identify each document produced by the paragraph number of this schedule
to which it is responstve. If a document is produced in response to more than one
request, it is sufficient to identify only the first request to which the document is
responsive.

10. All electronically stored information must be produced in the same form or
forms in which it is ordinarily maintained. Specifically, all electronically stored
information must be produced in its native format, so that the metadata can be accessed.

ll. Unless otherwise specified, the relevant time period for this request is from
January 1, 1997 through and including the present.

12. This request is a continuing one that calls for the supplemental or additional
production of documents if any defendant or its counsel obtains supplemental or
additional documents,

13.  Inresponding to the requests below: {a) the disjunctive shall also be read to
include the conjunctive and vice versa; (b) “including” shall be read to mean “including

without limitation;” (c) the singular shall also be read to include the plural and vice versa;

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(d) the present shall also be read as if the past tense and vice versa; (e) “any” shall be
read to mclude “all” and vice versa; and (f) “and” shall be read to include “or” and vice

versa.

Il. DOCUMENTS

YOU ARE REQUESTED to produce the documents set forth below:
L. All documents referring or relating to any communications between any of
the Debtors and Rowe.
2. Ajl documents referring or relating to any communications between Rowe
and any of the following individuals:
a. Thomas Hantges
b. Joseph Milanowski
C. Victoria Loob
3. All documents referring or relating to any communications between any of
the Debtors and any of the Entities.
4, All documents refeiring or relating to any communications between any of

the Debtors and any of the Individuals.

5. All documents referring or relating to any communications between Rowe
and any of the Entities.
6. All documents referring or relating to any communications between Rowe

and any of the Entities related to any ofthe Debtors.
7. All documents referring or relating to any communications between Rowe

and any of the Individuals.

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8. All documents referring or relating to any communications related to any of
the Debtors between Rowe and any of the Individuals.
9. All documents referring o1 relating to any communications related to any of
the Debtors between Rowe and any of the following persons:
a Thomas Hantges
b. Joseph Milanowski
C. Victoria Loob
d. USA Investment Partners, LLC
10. All documents referring ot relating to any transactions involving any of the
Debtors.
11. All documents referring or relating to any transactions entered into by any
of the Debtors.
12. All documents referring or relating to any transactions entered into by any
of the Entities.
13. All documents referring or relating to any transactions entered into by any
of the Individuals.
14. All documents referring or relating to any transactions or other dealings
between any of the Debtors and Rowe.
15. All documents referring or relating to any transactions or other dealings
between any of the Debtors and any of the Entities.
16. All documents referring or relating to any transactions or other dealings

between any of the Debtors and any of the Individuals.

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17. AU documents referring or relating to any transactions or other dealings
between Rowe and any of the Entities.
18. Ali documents referring or relating to any transactions or other dealings
between Rowe and any of the Individuals.
19. Ali documents referring or relating to any transactions or other dealings
between Rowe and any of the following persons:
a. Thomas Hantges
b. Joseph Milanowski
C. Victoria Loob
d. USA Investment Partners, LLC
20. All documents referring or relating to financial statements, audit work
papers, appraisals, valuation reports, or any other assessment of the financial condition of
any of the following persons:
a. Any of the Debtors
b. USA Investment Partners, LLC
c, Tanamera Development, LLC
d. Toblak, LLC
21. All documents referring or relating to any payments or other transfers by
any of the Debtors to Rowe.
22. All documents referring or relating to any payments or other transfers by

any of the Debtors to any of the Entities.

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23. All documents referring or relating to any payments or other transfers by

any of the Debtors to any of the Individuals.

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